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5
6    Attorney for Defendant
     JUAN CARLOS MONTALBO
7
8
9                     IN THE UNITED STATES DISTRICT COURT

10                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,       ) Case No. 2:16-CR-0092 JAM
                                     )
13          Plaintiff,               )
                                     ) STIPULATION AND ORDER
14                  v.               ) CONTINUING STATUS CONFERENCE
                                     ) AND EXCLUDING TIME
15   MARCO ANTONIO RAMIREZ ZUNO      )
     et al.,                         )
16                                   ) Date:   August 1, 2017
            Defendants.              ) Time:   9:15 a.m.
17                                   ) Judge: Hon. John A. Mendez

18
19
20          It is hereby stipulated and agreed between plaintiff,

21   United States of America, and defendants, Juan Carlos Montalbo
22   and Wayne A. York II, that the status conference scheduled for

23   August 1, 2017, may be continued to October 3, 2017, at 9:15

24   a.m.
25          The government has promised to provide a large amount of

26   additional discovery (it has asked defense counsel to provide

27   150GB hard drives).    At this time, defense counsel are uncertain
28   how much time they will need to review it but ask for two months

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1    to assess.    All agree that the new discovery is crucial to an

2    evaluation of the case.

3            All counsel need additional time to review discovery and to

4    pursue investigation.     They agree that the status conference

5    should be continued to October 3, 2017, and ask the Court to

6    order time excluded under the Speedy Trial Act through that date

7    in order to afford necessary time for effective preparation.

8    The parties agree that the interests of justice to be served by

9    a continuance outweigh the best interests of the defendants and

10   the public in a speedy trial, and ask the Court to order time

11   excluded pursuant to 18 U.S.C. § 3161(h)(7)(A) and (b)(iv).

12
13                                     Respectfully Submitted,

14                                     HEATHER E. WILLIAMS
                                       Federal Defender
15
16   Dated:    July 31, 2017           /s/ T. Zindel__________________
                                       TIMOTHY ZINDEL
17                                     Assistant Federal Defender
                                       Attorney for JUAN CARLOS MONTALBO
18
19   Dated:    July 31, 2017           /s/ T. Zindel for C. Cannon
                                       CHRISTOPHER J. CANNON
20                                     Attorney for WAYNE A. YORK II

21
                                       PHILIP A. TALBERT
22                                     United States Attorney

23
24   Dated:    July 31, 2017           /s/ T. Zindel for M. Morris
                                       MATTHEW G. MORRIS
25                                     Assistant U.S. Attorney

26   /////
27   /////
28
     /////

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1
                                     O R D E R
2
3
          The status conference is continued to October 3, 2017, at
4
     9:15 a.m.   The court finds that the ends of justice served by
5
     granting a continuance outweigh the best interests of the public
6
     and the defendants in a speedy trial for the reasons stated
7
     above.   Time is therefore excluded from the date of this order
8
     through October 3, 2017, pursuant to 18 U.S.C. § 3161(h)(7)(A)
9
     and (B)(iv).
10
          IT IS SO ORDERED.
11
12   Dated: 7/31/2017                  /s/ John A. Mendez________________
                                       HON. JOHN A. MENDEZ
13                                     United States District Court Judge

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